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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                     Middle District
                                  __________ Districtofof
                                                       Alabama
                                                          __________
                                                )
           UNITED STATES OF AMERICA             ) JUDGMENT IN A CRIMINAL CASE
                         v.                     ) (For Revocation of Probation or Supervised Release)
                                                )                      :2
               WILLIE F. ROBINSON               )
                                                ) Case No. 2:07cr312-WKW-01
                                                ) USM No. 12400-002
                                                )
                                                ) Christine Freeman
                                                                                                Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                        1-5 of the Amd Petition       of the term of supervision.
G was found in violation of condition(s) count(s)                                  after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                               Violation Ended
1                             Defendant unlawfully used a controlled substance                                 03/30/2021

2                               Defendant unlawfully used a controlled substance                               04/06/2021
3                               Defendant unlawfully used a controlled substance                               05/10/2021
                                see next page for additional violations

       The defendant is sentenced as provided in pages 2 through           3       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                             and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 5437                                                 09/28/2021
                                                                                           Date of Imposition of Judgment
Defendant’s Year of Birth:          1980
                                                                                               /s/ W. Keith Watkins
City and State of Defendant’s Residence:                                                          Signature of Judge
Montgomery, AL
                                                                            W. KEITH WATKINS, United States District Judge
                                                                                                Name and Title of Judge


                                                                                                    10/05/2021
                                                                                                            Date
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DEFENDANT: WILLIE F. ROBINSON
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                                                  ADDITIONAL VIOLATIONS

                                                                                                          Violation
Violation Number               Nature of Violation                                                        Concluded
4                              Defendant failed to complete a program approved by the USPO for            08/25/2021

                               substance abuse

5                              Defendant unlawfully used of a controlled substance                        09/09/2021
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                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   3       of   3
DEFENDANT: WILLIE F. ROBINSON
CASE NUMBER: 2:07cr312-WKW-01


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
Sixty (60) Days. The TERM of Supervised Release imposed on 11/18/2020 is REVOKED.




     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                 G a.m.         G p.m.       on                                         .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                           .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
